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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION



DISPLAY TECHNOLOGIES, INC.,                      Case No. 2:17-CV-068-JRG-RSP

       Plaintiff,                                LEAD CASE

       v.

ZTE (USA) INC.,

       Defendant.



DISPLAY TECHNOLOGIES, INC.,                      Case No. 2:17-CV-067-JRG-RSP

       Plaintiff,

       v.

BLU PRODUCTS, INC.,

       Defendant.
.


                             ORDER GRANTING DISMISSAL

       Upon consideration of the Stipulation of Dismissal filed by Plaintiff Display

Technologies, LLC (Plaintiff) and Defendant ZTE (USA) Inc. (ZTE), the Court ORDERS that

the claims in Plaintiff’s Complaint in this action are DISMISSED WITH PREJUDICE as to

ZTE only, and the defenses and counterclaims asserted by ZTE against Plaintiff are

DISMISSED WITH PREJUDICE. Each of Plaintiff and ZTE shall bear its own attorneys’

fees and costs.
        SIGNED this 3rd day of January, 2012.
       SIGNED this 11th day of October, 2017.




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                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE
